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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

PHH MORTGAGE CORPORATION,                        §
                                                 §
                                                 §
          Plaintiff,                             §
                                                 §
v.                                               §          Civil Action No. 3:22-cv-00664-K-
                                                 §          BK
                                                 §
DONAVAN MILLER,                                  §
                                                 §
          Defendant.                             §

      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          Plaintiff PHH Mortgage Corporation (“PHH” or “Plaintiff”) filed this Notice of Voluntary

Dismissal Without Prejudice (“Notice”) pursuant to Rule 41 of the Federal Rules of Civil

Procedure, and shows the Court as follows:

          1.     On March 22, 2022, Plaintiff filed its Original Complaint (“Complaint”) against

Defendant Donavan Miller (“Defendant”) to obtain an order authorizing foreclosure of Plaintiff’s

security interest on the real property located at 121 Jenny Kay Lane, Irving, Texas 75060. (ECF

No. 1.)

          2.     Plaintiff completed service on Defendant. (ECF No. 5.) No appearance and/or

answer has been filed by Defendant.

          3.     Plaintiff no longer wishes to pursue its claims for foreclosure against Defendant.

Accordingly, it files this Notice, pursuant to Rule 41 (a)(1)(A)(i) of the Federal Rules of Civil

Procedure. Plaintiff files this Notice before Defendant filed an answer or motion for summary

judgment. As such, Plaintiff voluntarily dismisses the claims it has asserted herein against

Defendant without prejudice to the re-filing of the same.



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       4.      This dismissal will finally dispose of all parties and all claims. Defendant will not

be prejudiced by this voluntary dismissal.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests the

Plaintiff’s claims against Defendant Donavan Miller be dismissed without prejudice, that no

prejudice attach to such dismissal, and that Plaintiff be awarded all other relief to which Plaintiff

may be entitled.

                                                   Respectfully submitted,

                                                   By: /s/ Vivian N. Lopez
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                                                   ATTORNEYS FOR PLAINTIFF




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